                 WRIT OF HABEAS CORPUS AD PROSEQUENDUM
                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF TENNESSEE
                             KNOXVILLE DIVISION

UNITED STATES OF AMERICA                         )
                                                 )
     v.                                          ) No. 3:05-CR-117
                                                 ) Judges Jarvis/Shirley
JOEL PALLARES AREVALO                            )

                                        ORDER

      On the petition of the United States of America by Harry S. Mattice, Jr., United

States Attorney for the Eastern District of Tennessee,

      It is ordered that the Clerk of this Court be and hereby is instructed to issue a writ

of habeas corpus ad prosequendum to the Jailor of the Criminal Justice Center,

Nashville, Tennessee, to bring Joel Pallares Arevalo (D.O.B. 06/20/1980), before this

Court at Knoxville, Tennessee, on October 25, 2005, at 9:00 a.m., for Initial

Appearance, or for his case to be otherwise disposed of upon said indictment heretofore

returned against him, and each day thereafter until said case is disposed of, and

immediately thereafter be returned to said.

      And it is further ordered that in the event the Jailor of said Criminal Justice

Center, Nashville, Tennessee, so elects, the United States Marshal for the Eastern

District of Tennessee, or any other duly authorized United States Marshal or Deputy




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United States Marshal, is directed to receive said Joel Pallares Arevalo (D.O.B.

06/20/1980), into his custody and transport him to and from said, and this Court for the

aforesaid purpose.



                                  APPROVED FOR ENTRY:


                                    s/ C. Clifford Shirley, Jr.
                                  United States Magistrate Judge




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